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                           UNITED STATES DISTRICT COURT
14                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16   JENNY LISETTE FLORES, et al.,         )      Case No. CV 85-4544 DMG (AGRx) 
                                           )
17          Plaintiffs,                    )      STIPULATION REQUESTING EXTENSION
18   - vs -                                )      OF DUE DATE FOR PARTIES’
                                           )      SUBMISSION(S) RE SPECIAL
19   JEFFERSON B. SESSIONS, ATTORNEY       )      MASTER/INDEPENDENT MONITOR
20   GENERAL OF THE UNITED STATES, et al., )      NOMINATIONS AND DUTIES
                                           )
21          Defendants.                    )      HEARING: N/A
22                                         )
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2    Plaintiffs’ counsel, continued
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2          On July 27, 2018, athe Court conducted a status conference to address
3
     Defendants’ compliance with the Flores Agreement and the Court’s June 27, 2018
4

5    Order. On July 27, 2018, the Court issued a Minute Order [Docket # 469] requiring
6
     the Parties to meet and confer and to file a joint status report by August 10, 2018,
7
     regarding candidates for the position of Special Master/Independent Monitor and
8

9    her/his duties. The Court also ordered Defendants to file a response to Plaintiffs’
10
     declarations by August 10, 2018, for review by the Independent Monitor once he or
11
     she is appointed.
12

13         The parties request an additional week to consider these issues and to see if they
14
     can reach resolution before submitting their joint status report to the Court.
15
     Accordingly, the parties ask the Court to extend the deadline for their joint status
16

17   report, as well as the deadline for Defendants’ filing in response to Plaintiffs’
18
     declarations, to August 17, 2018. Counsel for Plaintiffs and Defendants have
19
     conferred and agree that additional time is needed to adequately prepare their
20
21   recommendations for the Court regarding the appointment of a Special
22
     Master/Independent Monitor.
23

24

25   Dated: August 9, 2018                   Respectfully submitted,
26

27                                           CENTER FOR HUMAN RIGHTS &
28
                                             CONSTITUTIONAL LAW
                                             Peter A. Schey
                                                 1
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1                                       Carlos Holguín
2                                       ORRICK, HERRINGTON & SUTCLIFFE LLP
3
                                        Elena García

4                                       LA RAZA CENTRO LEGAL, INC.
                                        Michael Sorgen
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6                                       LAW FOUNDATION OF SILICON VALLEY -
                                        LEGAL ADVOCATES FOR CHILDREN & YOUTH
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                                        Annette Kirkham
9

10                                      Of counsel:

11                                      YOUTH LAW CENTER
                                        Virginia Corrigan
12

13                                      /s/Peter Schey
                                        Attorneys for Plaintiffs
14

15   Dated: August 9, 2018              /s/ Sarah Fabian___________
                                        SARAH B. FABIAN
16
                                        Senior Litigation Counsel
17                                      District Court Section
                                        Office of Immigration Litigation
18
                                        Attorneys for Defendants
19

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2                                    CERTIFICATE OF SERVICE
3
           I, Peter Schey, declare and say as follows:
4

5          I am over the age of eighteen years of age and am a party to this action. I am
6
     employed in the County of Los Angeles, State of California. My business address is
7
     256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
8

9          On August 9, 2018, I electronically filed the following document(s):
10
           STIPULATION REQUESTING EXTENSION OF DUE DATE FOR PARTIES’
11         SUBMISSION(S) RE SPECIAL MASTER/INDEPENDENT MONITOR NOMINATIONS AND
12         DUTIES

13   with the United States District Court, Central District of California by using the
14
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
15
     served by the CM/ECF system.
16

17                                                   /s/Peter Schey
                                                     Attorney for Plaintiffs
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